850 F.2d 689Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Herbert HAYES, Petitioner,v.BE &amp; K CONSTRUCTION COMPANY, Respondent.
    No. 88-8108.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  May 27, 1988.Decided:  June 24, 1988.
    
      Herbert Hayes, appellant pro se.
      John Brendan Kelly (Hunton &amp; Williams), for appellee.
      Before DONALD RUSSELL and SPROUSE, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Herbert Hayes seeks to appeal the district court's order granting the defendant's motion to compel discovery and denying his own motion to compel discovery.
    
    
      2
      Under 28 U.S.C. Sec. 1291 this Court has jurisdiction over appeals from final orders.  A final order is one which disposes of all issues in dispute as to all parties.  It "ends the litigation on the merits and leaves nothing for the court to do but execute the judgment."   Catlin v. United States, 324 U.S. 229, 233 (1945).
    
    
      3
      As the order appealed from is not a final order, it is not appealable under 28 U.S.C. Sec. 1291.  The district court has not directed entry of final judgment as to particular claims or parties under Fed.R.Civ.P. 54(b), nor is the order appealable under the provisions of 28 U.S.C. Sec. 1292.*   Finally, the order is not appealable as a collateral order under Cohen v. Beneficial Industrial Loan Corp., 337 U.S. 541 (1949).
    
    
      4
      Finding no basis for appellate jurisdiction, we dismiss the appeal as interlocutory.  We dispense with oral argument because the facts and legal arguments are adequately presented in the materials before the Court and oral argument would not significantly aid the decisional process.
    
    
      5
      DISMISSED.
    
    
      
        *
         Hayes argues that this Court has jurisdiction under Sec. 1292(b).  This assertion is incorrect, because the district court did not certify its order as appealable under Sec. 1292(b)
      
    
    